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u DISTRICT JUDGE Honorable Judge Fallon

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| EXSTERN DIVISION FOR LOUISIANA Ceo

 

 

ELDON E. FALLON
Joan M. Petty

Plaintiff | Case No. 07-3724

Racketeering Influence Corrupt Organization
Vs. Civil RICO U.S.C. § 1332

Merck & Co.Inc.

(A Foreign Corporation)

E-Merck & Merck KGaA Inc.

And

Raymond V. Gilmartin

And

Richard T. Clark

And

Edward M. Scolnick

And

John and Jane Doe et al
NOTICE FOR APPEAL

CIVIL RICO U.S.C.§ TITLE 18 AND TITLE 28
Pursuant to Supreme Court Rules of Procedure Rule 10

 

 

Plaintiff Joan M. Petty, pro se Litigant, Gives Notice to the United States District Court,
Eastern Division for Louisiana NOTICE FOR APPEAL. Plaintiff Intends to submit a PETITION
TO THE UNITED STATES SUPREME COURT For a WRIT OF ERROR as a discretionary
right, the character of the reasons the United States District Court’s conflict with the decision.

The United States Supreme Court was established by the United States Constitution, It is an
independent, separate branch of our federal government. The Constitution also authorized
Congress to establish such inferior courts, as the Congress should deem appropriate. Through that
power, Congress has created a United States Federal District Court for each state and for certain
United States Territories. For the most part they are courts of original jurisdiction. Lawsuits begin
in these courts and go to trial in them. Congress also created eleven Circuit Courts of Appeals. if
a party believes that the district court committed prejudicial error in the review of this case, that

party may appeal.

 

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STATEMENT:

The Jurisdiction of each state district court is limited to the geographical boundaries of the state it
serves. The jurisdiction of the court is statewide.

Congress authorized the United States Supreme Court to propound the Federal Rules of Civil
Procedure, which govern each step of civil litigation from commencement of the action to entry
of judgment and commencement of appeals.

The Federal District Courts are courts of original jurisdiction. The case in question began in the
Federal district courts. The Federal District Courts are courts of limited jurisdiction.

Plaintiff, Joan M. Petty, pro se Litigant did in fact file a RICO Complaint in the State of
Florida on a Foreign corporation in a different state in the United States. The RICO case filed on
Merck Corporation named three (3) Defendants and the Foreign Corporation. Diversity of
residency exists, with the claim of money greater than 75,000 dollars. ,

Congress established the Judicial Panel on Multidistrict Litigation in April 1968 and granted it
authority to transfer to a single district court the pretrial proceedings for civil cases involving
Common questions of fact. The panel can transfer any type of civil case filed in the federal
district courts except for antitrust cases.

J filed the RICO Complaint as a Pro se Litigant without any legal assistant as also filed a
Paupers Affidavit at the same time with a copy of her bank statement. Florida District Court
granted the Paupers Affidavit. Copy attached.

Robert Fenstersheib Esq. As my attorney filed a product liability case in February2006. This case
was standing on the docket for over a year. Mr. Fenstersheib did not communicate with me at all.
I saw him for 5 minutes in the office once. Robert Fenstersheib never handled anything but my
product liability case for that and me was recently dismissed. The trial lawyer Michael A. Keiser,
who worked out of Robert Fenstersheib office, agreed to be a trial advisor only about one month
after I had filed the RICO Case my self.

I fired Michael A. Keiser, shortly there after in writing because he granted an extension to the
defendants in my RICO case.

When the MDL put Robert Fenstersheib as the lead attorney for the RICO Case 1 was surprised
that the MDL put Lawyer Fenstersheib as the lead attorney because it was not true, The MDL
made a false assumption. When you judge Fallon had press coverage that there was no remedy or
statute for an individual regarding defective prescription drugs. I could have withdrawn my
product liability from the court however I was heartened by your reason and order statement that
my Rico case stands alone.

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Joan M. Petty, Plaintiff RICO Civil Action No. 07-3724
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Judge Fallon entered a final Order and Reason along with Judgment from the Eastern Division
for Louisiana. His statement that I the Plaintiff have made several entries. I added Merck KGaA
Inc. as party to the conspiracy including foreign trade and commerce in violation of Section | of
the Sherman Act (15 U.S. C. § 1) Merck KGaA, Inc violated the Anti-Trust Law committed
fraud, when a German owned company can get away with several criminal acts including killing
without any remedy, shielded by Congress this confirms the Defendants continuation of Practice

and Pattern of Conspiracy and Fraud.

Furthermore it is my opinion that the MDL is Bias and Prejudice and No one will ever get the
right to redress any prescription drug company for a defected drag they manufacture that kills or
injures an individual.

Therefore, this reason Plaintiff gives NOTICE FOR APPEAL TO THE UNITED STATES
SUPREME COURT. With intent to PETITION THE COURT FOR A WRIT OF ERROR .in
order to bring the RICO case back to the original Jurisdiction.

Submitted by: hoon m bie, Date }/- 6-6?

Joah M. Petty, Pro se Litigant

1525 Lake Clay Drive

Lake Placid, Florida 33852
Phone/Fax 863-699-5422

e-mail: radiob37 1 1@embarqmail.com

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Joau M, Petty, Plaintiff RICO Civil Action No. 07-3724
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CERTIFICATE OF SERVICE
List Served:

Merck & Co. Inc

A Foreign Corporation
Merck KGaA, Ine.
E-Merck

Frandfurter Str.256
Darmstadt, GermanyD-6431
Fax ==49-6151-772-8793

Squire Sanders & Dempsey LLP
1900 Phillips Point West

777 South Flagier Dr.

West Palm Beach, Florida 33401

Stone Pigman Walther Wittmann LLP
Dorothy Wimberley

546 Carondelet St.

New Orleans, LA 70130

Raymond V. Gilmartin
One Microsoft Way
Redmond, WA 98052

John Filderman, Counsel to General Counsel
One Merck Drive 3™ Floor suite WS2 B-35
Whitehouse Station , NJ. 88809

United States District Court
Eastern Division for Louisiana
New Orleans, LA 70130

Clerk for Judge Fallon

United States Judicial Panel
Clerk of the Panel

One Columbus, Circle NE.
Judiciary Building Room G 255
North Lobby

Washington DC 20602

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Joan M. Petty, Plaintiff RICO Civil Action No. 07-3724
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 07-14174-CIV-MARTINEZ/LYNCH

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JOAN M. PETTY,

  
  
   

 

 
 

 

Plaintiff,
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nce eco COPY
MERCK & CO., INC., JUN 13 2007
Defendant. cLeRR US. thst
/ 5 D. OF FLA,
cee ORDER ON
“ PLAINTIFF’ S MOTION TO PROCEED IN FORMA PAUPERIS (DE 3

 

THIS CAUSE comes before this Court upon an Order of Reference
from the Honorable Jose E. Martinez and the above Motion. Having
reviewed the Motion and the accompanying affidavit, it is hereby,

ORDERED AND ADJUDGED that the Motion is GRANTED and that the
Plaintiff is excused from the obligation of paying a filing fee in
this case. It is further,

ORDERED AND ADJUDGED that the Clerk of Court shall prepare the
summons and copies of the Complaint and shali direct that the same be
served by the U.S. Marshal. It is further,

ORDERED AND ADJUDGED that the U.S. Marshal shall serve the
Summons and Complaint upon Merck & Co. at the address: One Merck
Drive, Whitehouse Station, New Jersey 08889. The U.S. Marshal shall
keep the Court apprised of the status of service by promptiy filing a
return of service.

DONE AND ORDERED in Chambers at Fort Pierce, Florida, this

/ dyes of June, 2007. on

 

ERANK J. /GYNCH, JR/ G7
UNITEDASTATES MAGISTRATE JUDGE

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